Case 2:04-cr-20392-SH|\/| Document 96 Filed 08/22/05 Page 1 of 2 Page|D 128

 

IN THE UNITED s'rATEs DISTRICT coURT m-ED BY _` o
FoR TI-:E wEsTERN DISTRICT oF TENNESSEE o '¢*
wEsTERN DIvIsIoN_ 541/623 p" tr 3b
Clw<u.s ,9.,»,;#
UNITED STATES oF AMERICA, ) W/@OF!EH£HCBWT
) _
Plaintiff, )
)
vs. ) cR. No. 04-20392~Ma
)
DELoIs HARRIS, )
)
Defendant. )

 

ORDER ON CONTINUANCE AND BPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on July 28, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 28, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

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IT IS SO ORDERED this day of August, 2005.

JA{//»K

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 96 in
case 2:04-CR-20392 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

ENNESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

